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                      UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF NEW YORK



----------------------------------------        x

UNITED STATES OF AMERICA,

 v.
                                                    Case No. S2 17-cr-00686 (LAK)
JAMES GATTO,
a/k/a "Jim,"
MERL CODE, and
CHRISTIAN DAWKINS,

                Defendants.
----------------------------------------        x




            SENTENCING SUBMISSION ON BEHALF OF JAMES GATTO




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               Defendant James Gatto respectfully submits this memorandum to aid the Court in

his sentencing, currently scheduled for March 5, 2019.

                                        INTRODUCTION

               James Gatto is a good man, deserving of this Court's mercy and leniency. More

than one hundred people have written letters to the Court on Mr. Gatto's behalf, attesting to his

character and integrity. Each one describes the man they know, and have known, for upwards of

four decades. Each letter pleads with the Court to exercise compassion for a father and a family

that have already suffered mightily.

               As the letters attest, Mr. Gatto is, above all else, a loving and caring father to two

children, Grace and Jack, both of whom are still in high school. Mr. Gatto has been a hands-on

father for the entirety of his children's lives: he cooks dinner every night for his family, regularly

volunteers at the kids' school, and spends his evenings and weekends cheering on his children at

their basketball, baseball, and soccer games. Mr. Gatto and his wife Rachel were close friends in

college, began dating soon after graduation, and have been married for twenty years. By all

accounts, they are a close and loving family. Losing Mr. Gatto to a custodial prison sentence is a

terrifying prospect not only for his family, but also for Mr. Gatto's wider community, for there

are many who have come to depend upon him, as described in the many letters submitted to the

Court.

               Mr. Gatto has never demonstrated a proclivity towards the excesses and

immorality often associated with white-collar criminals. Rather, he and Rachel, who works as a

sales associate at an Ann Taylor store, have built a family life that revolves not around material

possessions but rather around time spent with their large circle of relatives, friends and

neighbors. Mr. Gatto is well known throughout his small town of Wilsonville, Oregon for his

frequent volunteer work in the local public schools and his role as the parent coach of the many


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youth basketball teams that his children played on. He is described as a wonderful father, a

warm and supportive role model for kids throughout the community, and a good friend with a

demonstrated history of empathy and assistance in tough times. He has never before been

arrested or convicted of a crime.

                  Just as Mr. Gatto is different from most individuals who are convicted of fraud

offenses, Mr. Gatto's conduct is far outside the heartland of fraud cases that are commonly

prosecuted in this District. This case bears almost no relation to typical fraud cases, where the

criminal scheme was motivated by greed. Mr. Gatto gained nothing for himself from his actions.

While the Government's charges are unquestionably serious, we submit that the conduct giving

rise to the charges in this case is far less venal than in the wire fraud cases usually brought in this

District and for which prison time is deemed necessary. For example, Judge Rakoff recently

sentenced trader Paul Thompson to three months in jail on wire fraud charges predicated upon a

scheme to rig the LIBOR benchmark interest rate-a global benchmark that is relied on every

day by investors, financial institutions, and ordinary consumers around the world. 1 Judge

Droney, prior to his nomination to the Second Circuit, imposed a sentence of one year and one

day for a defendant involved in a fraudulent reinsurance transaction that caused a loss of over

$400 million. 2 Judge Preska recently sentenced executives of the pharmaceutical company

Valeant to a year and day in connection with their orchestration of a $9. 7 million kickback

scheme tied to a potential acquisition deal. 3



1
    Judgment, United States v. Thompson, No. 14-cr-00.272 (S.D.N.Y. Nov. 22, 2016), Dkt. 268.
2
    Judgment, United States v. Graham, No. 06-cr-137 (D. Conn. May 6, 2009), Dkt. 1269; Order, Graham,
         (D. Conn. Oct. 31, 2008), Dkt. 1164 at 21.
3
    Judgment, United States v. Tanner, No. 17-cr-00061-001 (S.D.N.Y. Nov. 27, 2018), Dkt. 222; see also
         Judgment, United States v. Davenport, No. 17-cr-00061-002 (Nov. 27, 2018), Dkt. 224.



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                In contrast, the offense here was never intended to lead to personal profit for Mr.

Gatto. Rather, Mr. Gatto's motivation for paying the families of the talented basketball recruits

was borne out of his desire to help Adidas-sponsored Universities field great basketball teams,

and a perception, or rather a misperception, that supporting recruiting efforts in ways that

violated NCAA rules was how he was supposed to support the Universities Adidas sponsored.

The Government proceeded on a theory that Mr. Gatto's actions deprived the Universities not

out of millions of dollars, but out of the ability to make a fully-informed scholarship decision.

Indeed, the Government has never been able to show that Mr. Gatto sought to inflict pecuniary

harm upon the Universities. To the contrary, helping the Universities recruit successful

basketball teams-which even the Government's cooperating witnesses agree was the purpose of

the alleged scheme-was understood by the scheme participants as one that could help the

Universities bring in tens of millions of dollars in annual revenue. For example, when Dennis

Smith Jr. played on N.C. State's men's basketball team, the school earned $14.6 million in

revenue. For sentencing purposes, we submit that the value of the scholarship--$21,900, in the

case of Smith Jr.-should be considered against the millions of dollars in revenue that N.C. State

earned with Smith Jr. as its star player.

               In addition to the lack of evidence of personal gain or pecuniary loss, the conduct

that gave rise to the charges in this case differs from most fraud cases in that it was so

widespread as to have become virtually an industry practice. The Rice Commission on College

Basketball-a committee chaired by former United States Secretary of State Condoleezza Rice

and established by the NCAA Board of Governors, Dl Board of Directors and NCAA President

Mark Emmert-spent months investigating the world of college basketball. In its final report,

the Commission rejected the idea that the conduct described in the Indictment was atypical, the




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result of a few bad apples in an otherwise rule-abiding industry. Instead, the Commission stated

that it was an "uncomfortable fact" that this conduct has "been part of landscape of pre-

professional basketball for many years," with no intervention from anyone in law enforcement

and a tepid response even from the NCAA. The pervasiveness of the offense conduct is brought

to the Court's attention not to suggest that it excuses improper behavior, but rather so the Court,

in fashioning a sentence, can avoid unwarranted sentenCing disparities. The fact is, Mr. Gatto's

conduct was indistinguishable from that of many, many other people who will never see the

inside of a prison cell.

                Finally, Mr. Gatto's character and history are important considerations here. Mr.

Gatto has always been a law-abiding, responsible citizen, known for his kindness and

commitment to his community. The allegations, trial, and jury verdict against Mr. Gatto have

already wreaked irrevocable harm on his life, and that of his family. After the jury returned its

verdict, Mr. Gatto was fired from Adidas, his employer of twenty-five years. Mr. Gatto's

reputation has been destroyed. His picture has been published in newspapers around the country

and all over the internet. At various times over the last eighteen months, ESPN ran almost non-

stop television coverage of the Government's allegations. In short, Mr. Gatto's name will

forever be linked to this trial and the jury's verdict.

                Furthermore, given the media onslaught, the stress upon Mr. Gatto's family over

the last eighteen months has been tremendous. Mr. Gatto' s two children have been bullied at

school. Despite his best efforts to reassure Grace and Jack that they are strong enough to get

through anything, Mr. Gatto's two children are terrified oflosing their father-who has been an

extraordinarily involved parent throughout their lives-to a prison sentence. Mr. Gatto's wife,




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Rachel, is distraught, both by the verdict and the prospect of raising Grace and Jack alone, while

Mr. Gatto is imprisoned. In short, this is a man who has already been punished severely.

               It is a man's whole life that matters at sentencing. We respectfully submit that

when Mr. Gatto's entire life, and the punishment he has already suffered, are weighed, the Court

can determine that a custodial sentence would be greater than is necessary to achieve the

sentencing purposes of§ 3553(a). In this instance, a non-custodial sentence would fully satisfy

both the objectives of sentencing and the call of justice.

                                           DISCUSSION

               As has been said, "imposing a sentence on a fellow human being is a formidable

responsibility." United States v. Gupta, 904 F. Supp. 2d 349, 350 (S.D.N.Y. 2012). The

responsibility carries with it the obligation to "consider every convicted person as an individual

and every case as a unique study," and, for that reason, judges are given both flexibility and

deference, so that they may freely exercise compassion in the face of the "the human failings"

that can, and do, lead good people temporarily astray. Gall v. United States, 552 U.S. 38, 52

(2007).

               Sentencing a man requires "great care and sensitivity" because the "facts and

factors" that must be weighed are numerous and important. Gupta, 904 F. Supp. 2d at 350.

While a sentencing court is required to "correctly calculat[e] the applicable Guidelines range,"

see Gall, 552 U.S. at 49-50, that calculation falls "second" to "the bedrock" of federal

sentencing, 18 U.S.C. § 3553(a), which "requires a court to take account of a defendant's

character in imposing sentence." Gupta, 904 F. Supp. 2d at 353-54. Under§ 3553(a), the Court

must look at (1) the history and characteristics of the defendant; (2) the nature and circumstances

of the offense; (3) the need to protect the public from further crimes of the defendant; (4) the

need to afford adequate deterrence; and (5) the need to avoid unwarranted sentence disparities.


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Id. at 49-50. As these factors reflect, sentencing bestows a "moral responsibility" to "judge the

man as a whole." Gupta, 904 F. Supp. 2d at 350, 354.

                Here, the Guidelines range, when calculated correctly, and consideration of the

statutory factors under§ 3553(a) leads to the same result: a non-custodial sentence.

      I.        CONSIDERATION OF THE SECTION 3553(A) FACTORS MERITS A
                LENIENT SENTENCE.

                A.      Mr. Gatto's History and Character.

                More than one hundred people have written to the Court in an effort to describe

for Your Honor the kind of man that Jim Gatto is. (See Ex. A (Letters to Judge Kaplan).) These

letters, while not sophisticated, are written from the heart, and they tell the story of a good man, a

family man, whose focus has always been to provide his two young children, Grace and Jack,

with the kind of wholesome, healthy, and happy childhood that all parents wish for their

children. As the letters detail, Jim has succeeded in that respect. Jim, alongside Rachel, his wife

of twenty years, have raised two "wonderful, polite, well-adjusted kids," see A-13, who work

hard at their classwork, compete on their school's basketball, baseball, and soccer teams, and

attend church each Sunday. As family friend and neighbor Chris Roche writes: "If you knew

[Jack and Grace], Judge Kaplan, you would appreciate that Rachel and Jim have to be good

people. These kids are a credit to everyone around them, but most obviously to Jim and Rachel."

(A-14) (italics in original).

                Indeed, by all accounts, Jim is, and always has been, an extraordinarily "hands-

on" dad. (A-1.) When the kids were little, that meant diaper changing and a lot of nights

without sleep. (A-5.) Now that Grace has turned 14 and Jack is 17, Jim takes care of them in

other ways. It is Jim that does all the grocery shopping and the cooking for the family. (A-1.)

In a moment of quiet humor, Rachel describes for the Court how Jim gets truly excited about



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"going to Costco," "wander[ing] the aisles," and ultimately finding some "new" food for the

family to try. Id. He does the laundry, keeps the house vacuumed, and handles the kids' Sunday

School carpool. Id. He hates to miss even a single one of the kids' games-and given that Jack

plays both basketball and baseball, and Grace plays basketball, soccer, and competed in

gymnastics, Jim spends an extraordinary amount of time with his children, cheering them on and

making sure they understand how important they are to him. As Grace explains, her dad is "the

backbone of our family." (A-2.)

               Jim has always put family first. Even though Jim's responsibilities at Adidas

involved a lot of travel, Jim still insisted upon coaching Jack's middle-school basketball teams,

back before Jack began playing more seriously at the high school level. (Indeed, one year, the

team Jim coached actually won the Oregon State Championship!) Jack recalls that his dad was

"so excited" that he was literally "jumping up and down on the sidelines," although for Jack, the

"most important" part of that day was not the moment of victory, but rather when Jim told his

son how proud he was of him. (A-3.)

               Cathie Ericson, a fellow parent whose children have always attended the same

schools as Jack and Grace, wants Your Honor to know how involved Jim is, and has always

been, in the lives of his children and their local schools. She recalls that Jim chaperoned

"numerous elementary school field trips," and in-school events which "typically [are] the domain

of moms, but [Jim] loved doing it." (A-28.) When Jack was studying for his Confirmation-the

year-long, intensive process in the Catholic Church in which one reaffirms one's baptism and

becomes a full-fledged member of the Church-Jim cancelled a work trip and rearranged his

schedule because a volunteer was needed to chaperone all the kids in Jack's class at an overnight

retreat in a nearby monastery. (A-18.) Jeremy Nesbitt, one of the teachers at the local high




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school and a coach of both Jack and Grace, explains that in his line of work, he sees "so many

parents not involved in their children's life," but that "Jim is the opposite of this." (A-9.) Mr.

Nesbitt recounts: "I have seen [Jim's] children come home and immediately wrap their arms

around him. I have seen Jim show up and support his friend's children at their events. I have

seen him support his community through volunteer work." Id. He concludes with the highest

praise: "Jim is the epitome of the type of father I want for all my students." (Id.)

               Jim's approach to parenting and his commitment to his family above all else has

its roots in his own happy childhood. Your Honor may have seen Jim's parents in the courtroom

this past fall: they were there every single day and on many occasions, were accompanied by

various neighbors and family friends who wanted to attend the trial as a way of expressing their

support of, and love for, Jim. As Rachel explains in her letter to Your Honor, Jim's parents have

always served as a model to her and Jim, both because of their "wonderful, loving, and kind"

marriage of 54 years, but also because of the old-fashioned family values they raised their

children to respect. (A-1.)

               Jim's mother, Barbara, mostly stayed at home to raise Jim and his two siblings,

Peter and Danielle. (A-5.) Jim's dad, after whom he is named, worked two, sometimes three,

jobs when Jim was growing up. His primary occupation was as the gym teacher and the

basketball coach at Mater Christi High School, later renamed St. John's Prep, in Astoria. For 30

years, Jim's dad also held a part-time job on the weekends at Shea Stadium, so that he could earn

extra money for his family. Ultimately, Jim's parents were able to put all three of their kids

through college: a true achievement and a testament to their commitment to hard work, self-

sacrifice and a lifetime of responsible saving.




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               Jim and Rachel share his parents' values. Jim began working at adidas in 1993,

after graduating from Elmira College, and his job was to tour local high schools in Atlanta and

hand out Adidas sneakers and gear in an effort to promote the brand. The job paid $21,000/year.

(DX1014.) For the next twenty-five years, Jim worked hard for the company and by 2017 was

earning a salary of $139,000/year. (GX1018.) Jim's wife Rachel is equally loyal to her

employer: she has worked as a sales associate at an Ann Taylor store for the past twenty years.

(A-1.) Because Jim has always wanted Grace and Jack to have all the same opportunities that

Jim's parents gave to him, Rachel and Jim started saving for their kids' college educations on the

day that Jack was born. Id. They do not live extravagantly and are careful with the money they

earn. Most family vacations are spent at a cottage in Michigan that was first owned by Jim's

grandmother and then passed down to Jim's mother. (A-5.) As one long-time family friend, Joe

Martino, put it, "Today, Jim personifies everything that Coach and Barbara wanted him to

become ... he is simply a regular guy who values family. He always puts family before his work.

That is how he was raised. Nothing matters more to Jim than being a good husband to his wife

Rachel, a good father to his children, Jack and Grace, a good son to his parents, a good brother to

his siblings and a good uncle to his nieces and nephews." (A-42.)

               As Mr. Martino's letter reflects, Jim's commitment to his family is not limited to

his two children. Jim's younger brother Peter, who is now a gym teacher specializing in students

with autism, explains that he and his brother remain very close. Growing up, it was Jim who

"taught [Peter] to shave, to throw a curve ball and [who] would eat [Peter's] broccoli for [him]

when he refused to clean [his] plate." (A-7.) More recently, Peter lost his home as a result of

Hurricane Sandy and Jim immediately flew across the country to help Peter and his family, in




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addition to other "countless acts of kindness and generosity" that followed in the months

afterward. Id.

                 Jim's older sister, Danielle, an elementary school teacher, also describes Jim's

strong commitment to family in her letter to Your Honor. Danielle explains that her son Rhett,

Jim's nephew, was born with a developmental disorder and has been in special needs programs

his whole life. (A-6.) As Danielle attests, "Jim always goes out of his way to make sure that

Rhett is okay," patiently working with him during family vacations and ensuring that he is made

part of every conversation and never ignored. Id. Indeed, should anything happen to Danielle or

her husband, Jim and Rachel will assume care for both Rhett and for Danielle's daughter, Julia.

Id.

                 Danielle, and virtually every other person who took the time to write to Your

Honor, describes for the Court how she has found herself "overwhelmed with heartache" when

she thinks about the "torment" that a custodial prison sentence would impose upon her niece

Grace, who at the very sensitive age of 14, still turns to her father to help her build up "self-

esteem and confidence," and upon Jack, who is still developing into a young man and very much

needs his father's guidance. Id. Danielle admits: "It is hard for me to believe that society will

be better off with my brother in prison-it seems to me that the only real consequence of a prison

sentence will be to potentially ruin the childhoods of two wonderful kids ... Whatever punishment

is needed, I can assure [the Court] that it has already been administered through the incessant and

sensationalized news coverage, the destruction of my brother's 25-year career, and the anguish

of knowing that his children are likely forever changed by this experience." Id. For these

reasons, she pleads with the Court to consider imposing a sentence of probation.




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               That plea is repeated by many members of Jim's community, who have lived

alongside him for decades and can attest to the fact that he has long been a credit to their

community. For example, as explained above, for years Jim served as the basketball coach for

his son's youth basketball teams. As one parent explains, "[Jim] had a knack for connecting with

every kid [on the team]. It did not matter if you were the best and most talented basketball

athlete on the team or the boy with the longest way to go in the sport. [Jim] cared about the

experience that every kid had and he invested energy in each boy. He had nicknames for

everyone one of the boys and Jim's passion and care for each kid was obvious. We felt so lucky

that Jim was willing to commit that time to the boys and the team." (A-14; see also A-25.)

               Other parents explain that when Jim "mentored and coached" their children on

various local teams, he "encouraged [their children] to be the bigger person, to try even when

things weren't going [their] way and to always believe in [themselves]." (A-12; A-23.) These

parents have written to inform the Court: "You will not find any parent who has a negative thing

to say about Jim Gatto. He was a true mentor and taught our kids values through sports to make

them better young men and successful citizens .... We are sick at the thought of his absence from

this community that cares deeply about him and his family." (A-12.) Indeed, the Associate

Principal of the Wilsonville High School has written to Your Honor, pleading for leniency and a

minimum sentence for Jim, given Jim's "positive impact [upon] many in [the Wilsonville]

community." (A-10.)

               Jim's contributions to his community extend beyond coaching. He has long

volunteered at Covenant House, the shelter for homeless youth. (A-20.) When a local Little

League team needed to raise funds, Jim helped organize a fundraising event and "through a

combination of humor and good-natured shaming" was able to convince most of his friends and




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neighbors to participate. (A-13.) Lisa Hawley-Love, a fifth grade teacher in the Wilsonville

school system, writes to inform the Court of a particular instance in which a fellow teacher, who

was in her first year of teaching, began to be bullied by a group of parents. Ms. Hawley-Love

notes that it was Jim and Rachel who chose to "stand up" to the bullying parents and defend the

young teacher, who is now a well-respected and admired educator in the district. (A-11.)

Douglas Napoli, a local firefighter with 26 years of experience as a public servant, wrote to Your

Honor to confirm that Jim has "volunteered countless hours in the classroom" and to let the

Court know that in the larger Wilsonville community, Jim is "looked up to ... not only as a

volunteer who gives of his time but also as a great husband, father and friend." (A-26.) Mr.

Napoli humbly offers the Court his observation, based on his 26 years of serving the public, that

Jim is simply "not a man who deserves to be in prison." Id.

               Jim's kindness and empathy towards others is particularly illustrated by the

relationship he has with his neighbor, Bryan Rector. Bryan is 15 years old. In 2012, when

Bryan was nine, his parents went through a painful divorce such that his father was no longer a

frequent presence in Bryan's life. Both Bryan and his mom have written beautiful letters to the

Court, explaining how Jim stepped in and has served as a father figure to Bryan for the past six

years. (A-17; A-18.) Bryan himself-who is a teenage boy, a group not typically known for

their emotional vulnerability-admits in his letter to Your Honor that he had really struggled,

emotionally, after "it became apparent that my father would not be as involved in my everyday

life anymore." (A-17.) Left without a consistent fatherly influence, Bryan began to "search for

another role model." Id. He found that person in Jim. Id. Bryan became closer to Jim than

anyone else in their community and he explains in his letter that his relationship with Jim was

"integral" to his process of "healing" and trying to come to come to terms with his father's




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absence. Id. Bryan writes that he now thinks of Jim as his "family," "because of how much we

have done together and how much we have all gone through." Id.

               Bryan's mother confirms her son's account, explaining that as a single mom,

working full-time, she finds herselfrelying on Jim for all sorts of things: "giving rides to my son

for various things, or taking care of my dog, or jumping in to help during medical crises." (A-

18.) She confirms that Jim is always "immediately willing to help me with anything" and tells

the Court that just knowing that Jim is there is "so very important to [her] sense of security." Id.

Bryan's mother concludes her letter by explaining that Jim is, quite simply, "one of the best

people I know" and by asking the Court to consider Jim's "lifetime of goodness" when

determining a sentence. Id. Over and over again, the people who know Jim best insist to the

Court that he is simply not a criminal, not in any ordinary sense of the word, and that a sentence

of incarceration for Jim would not only provide no benefit to society, but would in fact create a

deeply felt absence in a community that has come to rely upon him.

               Nor is it the case that Mr. Gatto acted as one person to his friends and family and

a different sort of person when he went to work. Dozens of his former colleagues and

supervisors have written to the Court to confirm that, in their experience, Mr. Gatto is a man of

integrity who cares deeply about other people. Lee Kromminga, an Adidas co-worker of Jim's

for twenty years, has written to the Court to express his concern that, given the way the

Government has tried to portray Jim, Your Honor will "assume [Jim] to be some sort ofhyper-

aggressive hustler or such." (A-39.) In "actuality," Mr. Kromminga writes, Jim is a "really

humble, decent and well-grounded guy who tries to do his best, however he can, to help whoever

needs it." Id. Even after "twenty years in the workforce, [Jim] wouldn't think twice about

rolling up his sleeves and helping an intern pack boxes of shoes for hours, so that they could be




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shipped out in time for the NBA start of season," explains another Adidas co-worker, Alex

Zerzan. (A-19.) Mr. Zerzan writes, "It didn't matter who you were, or what you could do, or not

do for him, Jim believed in treating people, regardless of title, gender or prestige with the same

respect and genuine decency as the next person." Id.

               Zach Fawcett, who spent many years working alongside Jim, says the same thing.

He writes, "Never have I witnessed in 17 years working with Jim [him] being self-serving. The

complete opposite of that, probably to a fault! Jim was ALWAYS looking out for every single

person other than himself. Jim has a HUGE heart and was always helping others." (A-16.)

Although Mr. Fawcett doesn't believe he has the "words" to "describe Jim's loyalty, character

and integrity," he wishes for Your Honor to know that Jim was a different kind of colleague. Id.

Mr. Fawcett recounts the day that his wife went into labor with their son. (Id.) It was supposed

to be an ordinary delivery, but everything went wrong. Mr. Fawcett's wife and newborn son

almost died. Id. Mr. Fawcett explains that when Jim heard the news, he didn't just send a note

or call to express his support. Id. Instead, Mr. Fawcett remembers, Jim drove immediately to the

hospital, to be "right there with me, to cry with me, pray with me, support me and tell me that he

loved me and my wife ... nothing in the world could have meant more to me than that." Id. Mr.

Fawcett says that the world doesn't need to see Jim incarcerated but instead would be better off

if there were "more people, fathers, husbands like Jim Gatto." Id.

               In letter after letter, Jim's colleagues explain that he was a wonderful person to

work with, that he cared deeply about both their professional development and their personal

happiness and that he served as role model, especially in the way that he consistently put work

"second" to the demands of his family. (See e.g. A-15; A-31, A-50, A-44.) The sports industry

is a male-dominated place, but numerous women have written to Your Honor to inform the Court




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of Jim's efforts to try to raise the profile of women, both within Adidas and within the sport

more generally. (A-52; A-53.) Albert Hall, who has been part of the basketball business for

more than twenty-five years, confirms: "To see [Jim] painted as a criminal is just not accurate."

(A-47.) He explains that if "you were to ask anyone" in the business who knows Jim, whether

"colleague or competitor, they will tell you that he is truly one of the nicest and highest character

guys around." Id. Mr. Hall continues, "He's a selfless person, it's never about him," and he asks

the Court to remember that "even in this situation [Jim's] in, he was doing his job and trying to

benefit others." Id.

               Indeed, we wish address the suggestion by the Government at trial that Mr. Gatto

is "greedy." (Tr. 48:23-24.) To the contrary, as many of the enclosed letters confirm, Mr. Gatto

doesn't have a "greedy" bone in his body. (A-1; A-39.) Mr. Gatto didn't earn a nickel from this

offense, nor would he ever have expected to, since his compensation at Adidas came in the form

of a fixed salary and a bonus-which never exceeded $52,000-that was primarily based upon

Adidas's worldwide revenues, which couldn't have been meaningfully affected by the offense

conduct. (Tr. 1308:14-1309:11.) Indeed, given his compensation structure, the Government's

speculation that Jim defrauded the adidas-sponsored Universities because of "greed" makes little

practical sense. Adidas paid each of the Universities tens of millions of dollars for the rights to

sponsor their athletic teams. (Exs. 1-4.) In other words, the interests of Adidas were fully

aligned with the interests of the Universities. Moreover, we note that despite the Government's

repeated suggestion that "greed" was at the heart of Mr. Gatto's conduct, in reality, the

Government did not even try to prove at trial that Mr. Gatto obtained, or even expected to obtain,

any personal benefit from the conduct described in the Indictment.




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               A more reliable source of evidence about Jim's motivations is Matt Candel. The

two have been best friends since they were eight years old. (A-8.) Mr. Candell has written to the

Court to express his wish that Your Honor and the jury "could have seen Jimmy" over the years,

when Jim would talk about Louisville, and NC State, and Kansas, the schools that Jim worked

with in connection with Adidas's sponsorship. Jim would "beam[] with pride" when he talked

about the Universities' basketball teams, their coaches, and the players themselves. Id. If Your

Honor or the jury "could have heard" Jim on these occasions, Mr. Candell writes, "you would

know he cared deeply about [the Universities] and would never intentionally try to hurt them."

Id.

               B.       The Nature and Circumstances of the Offense.

               In November 2014, an ABA Criminal Justice Task Force on the Reform of

Federal Sentencing for Economic Crimes, which included both Judge Gerard Lynch of the

Second Circuit and Judge Rakoff of this District, submitted a proposal to the Sentencing

Commission seeking substantial revisions to the Sentencing Guidelines for economic crimes.

(Ex. 5 ("A Report on Behalf of the American Bar Association Criminal Justice Section Task

Force on the Reform of Federal Sentencing for Economic Crimes," American Bar Association,

Nov. 10, 2014).) The Task Force recommended that when a defendant has "zero criminal history

points" and his "offense was not otherwise serious" as set forth in 28 U.S.C. § 994G), a

"sentence other than imprisonment is generally appropriate" to satisfy the objectives of

sentencing. Id. at 2.

               More specifically, the Task Force recommended the following sensible proposal:

       Where the motive for the offense was not entirely predatory, where the loss was
       largely intended rather than actual, where the defendant's gain from the offense
       was significantly less than the loss, where the offense was of limited sophisticated
       or duration, where significant and unusual extenuating circumstances contributed
       to the commission of the offense, or where the defendant took significant steps to


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       mitigate the harm caused by the offense, the guideline may produce an offense
       level that substantially overstates the seriousness of the offense. If so, a
       downward departure may be warranted. Where the totality of the circumstances
       demonstrate that the offense is not otherwise serious and the defendant is a first
       offender, a departure to a sentence other than imprisonment is generally
       appropriate.

Id. at 6-7; see also Ex. 6 (Testimony from the American Bar Association before the

United States Sentencing Commission, March 12, 2015) at 12-16.

               In the present case, the conduct for which Mr. Gatto was convicted falls far

outside the heartland of fraud cases that typify the offense and does not fall within the meaning

of "serious" set forth in 28 U.S.C. § 994G), and for that reason it would be appropriate for this

Court to impose a non-custodial sentence. Unlike the typical fraud case, there is absolutely no

evidence that Mr. Gatto sought to obtain any money or property from the Universities. Mr.

Gatto did not seek to defraud the Universities of basketball scholarships in order to line his own

pocket. Even if his conduct deprived the Universities of the ability to make fully informed

scholarship decisions, his goal was to help the Universities secure some of the most highly

sought after basketball recruits in the country, not to cause them pecuniary harm. As explained

by Government cooperator T.J. Gassnola, the objective of the alleged scheme was to "make sure

that the coaching staffs" of the Universities' basketball teams "were happy" with Adidas because

he understood that the "basketball coaches" at the colleges "wanted shoe companies to help

recruitplayerstotheirschools." (Tr. 1080:3-1081:7; 1107:14-17.) According to Mr. Gassnola,

Mr. Gatto was "trying to help" the Adidas-sponsored Universities recruit talented players, who

would hopefully play well for the Universities' basketball teams and lead the schools to athletic

success. (Tr. 973:4-8; Ex. 7 at 11.) In considering Mr. Gatto's culpability, the Court should take

into account the fact that the intended beneficiary of the alleged scheme was not Mr. Gatto's

pocket, but rather the Universities themselves, who would hopefully reap the considerable



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financial benefits associated with top-caliber players. (Ex. 8 (Daniel Rascher et al., Because It's

Worth It: Why Schools Violate NCAA Rules and the Impact of Getting Caught in Division I

Basketball, J. Issues in Intercollegiate Athletics (forthcoming)).)

                Indeed, the circumstances involving N.C. State and Dennis Smith Jr. illustrate this

point.




Gassnola agreed to provide the funds, because he "wanted to keep people happy" and thought it

"was the right thing to do" for Coach Early. (Id.)

               Smith Jr. remained enrolled at N.C. State and played for its basketball team

during the 2016-2017 season. That season, N.C. State's men's basketball team achieved_

                                 and brought in $14,600,000 in revenue. (Tr. 842: 3-5; Ex. 10 at

25-26; - . ) Although the Government maintains that Mr. Gatto defrauded N.C. State

out of its right to control its basketball scholarship funds, for purposes of sentencing, the value of

those scholarship funds-$21,900-should be placed in context and evaluated against the $14.6

million that NC State earned with Smith Jr. as its star point guard.

               This discrepancy between the harm caused and the financial benefit is also

applicable to Kansas. During the second semester of the 2017-2018 academic year, Kansas

provided Silvio Desousa with a scholarship worth $20,539. (GXl 823.) During the 2017-2018

season, Kansas not only won its conference title but also advanced to the Final Four, an

achievement directly traceable to four points scored by DeSousa in the Elite Eight-Kansas's




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exact margin of victory. Ultimately, the Kansas team brought in $18,800,000 in revenue that

season. (Ex. 12 at 34.) Again, we bring these facts to the Court's attention not to excuse Mr.

Gatto' s conduct, but rather because at sentencing, the pecuniary harm caused by the defendant's

conduct is often the driving factor in the length of his sentence. Where the pecuniary harm is

small or non-existent, and where there is no evidence that the defendant sought to inflict

pecuniary harm on the victim, see infra at pg. 30-35, a non-custodial sentence is appropriate.

               Furthermore, this case also falls well outside the heartland of fraud offenses

because the alleged misrepresentations were not made to a victim to defraud him or her out of

their hard earned savings, but rather were about compliance with the rules of a private

organization where rule violations are so common as to be almost expected. Almost all of the

individuals implicated in this case admitted that significant violations of NCAA rules occur on a

regular basis when it comes to elite college prospects. In a wiretapped phone call, Mr. Code,

who spent 14 years working at Nike, acknowledged that "Nike schools pay too," because "that's

just part of the space." (GX 75T at 42:11-15, 42:22-43:6.) Mr. Gatto was informed that top

prospect Nassir Little had been offered $150,000 to play for the Nike-sponsored University of

Arizona. (GX7T at 6-10.)




               Bowen Sr. received multiple monetary offers in exchange for his son's agreement

to play basketball,




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              Silvio DeSousa's guardian, Fenny Falmagne, received $60,000 in cash from a

booster of the University of Maryland, which is sponsored by Under Armour. (Tr. 1012:2-

1013:10.) Adidas only became involved when Desousa decided he would rather play for Kansas

than Maryland. (Tr. 1170: 15-1171 :25.) Mr. Falmagne told Mr. Gassnola that DeSousa couldn't

play for Kansas unless Mr. Falmagne could get "out from under this Under Armour deal." Id.

As Mr. Gassnola explained to the jury, he agreed to pay Mr. Falmagne $20,000 because he

"wanted to help the situation and make sure that [DeSousa] stayed at Kansas." (Tr. 1013:6-10.)




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               Indeed, evidence demonstrates that the widespread nature of NCAA rule

violations was an effectively an open secret.




               All of this evidence corroborates the conclusion of the Rice Commission. After

months of investigation, the Commission issued a final report, in which it rejected attempts to

claim that the allegations in the Indictment were an isolated incident. Instead, the Commission

confirmed the "importan[ce]" of "confront[ing] the uncomfortable fact that the challenges

identified in this report have been part of landscape of pre-professional basketball for many

years." (Ex. 18 (Commission on College Basketball, Report and Recommendations to Address

the Issues Facing College Basketball, 2, 9, 10, 16 (2018)).) Moreover, the fact that NCAA rules

were regularly broken, with virtual impunity, was no secret to anyone interviewed by the

Commission. The Commission explained: "Virtually all stakeholders and others providing

information to the Commission at some point uttered the discouraging phrase, 'Everyone knows

what's been going on."' (Id.) What was novel about this case was not the conduct described in

the Indictment, but rather the idea that an NCAA rule violation could be prosecuted as criminal

wire fraud. (Exs. 19-21.)




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               The fact that this conduct has been going on for years, with the knowledge of

virtually everyone in the basketball industry, and without any intervention by law enforcement,

is another factor that merits leniency, as these facts militate against the conclusion that Mr. Gatto

was brazenly flouting federal law. Indeed, each of the subject payments was made in response to

information that other payments had already been made, either by other apparel companies

pushing their sponsored schools or by boosters of rival colleges. (GX-7T, 1:3-17, 3: 16-18 (Gatto

informed that Nike-sponsored Arizona had offered $150k for Nassir Little's commitment);

GX75A-T, 3 :24-4:8 (Code learned that Nike-sponsored Oregon had made an "astronomical"

offer for Brian Bowen Jr.); GX57T, 2:6-15 (Code describing "shoe wars" and the need, with

respect to Bowen Jr., for Adidas to "step up and help one of our flagship schools in

Louisville ... secure a five-star caliber kid."); supra at pg. 20 (payment from Adidas made to

family of Billy Preston after Gassnola learned family was taking money from agents and

financial advisors);



                                 Mr. Gatto facilitated these payments in an effort, albeit a

misguided one, to ensure that the Adidas-sponsored Universities were not placed at a

disadvantage in the highly-competitive world of college recruiting.

               Indeed, this is not the first time these Universities have ever issued athletic

scholarships to basketball players who were actually ineligible for competition because of

NCAA recruiting violations. Recent history involving the very Universities at issue in this case

demonstrates how widespread it is for athletes to falsely certify compliance with NCAA rules on

their admission forms. In at least four recent cases, Kansas has awarded basketball scholarships

to athletes who were deemed ineligible for play due to recruiting violations. Ex. 22 (Cheick




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Diallo); Ex. 23 (Ben McLemore); Ex. 24 (Darnell Jackson); Ex. 25 (Josh Selby). In each of

these instances, Kansas simply applied to the NCAA asking for the athlete to be reinstated after

some period of sitting on the bench and the NCAA agreed to do so.




               The same is true for Louisville and N.C. State. In 2014, the NCAA found that

Shaqquan Aaron, an incoming basketball player for Louisville, and his family, received over

$50,000 in impermissible benefits prior to his enrollment. Louisville took no action other than to

apply for Aaron's reinstatement. Aaron was ultimately forced to sit out just nine games of the

regular season. (Ex. 27, 28 (citing Ex. 29).) With respect to N.C. State, when it was discovered

that "prized recruit" Omer Yurtseven had been paid a professional salary for three years prior to

enrolling at NC State-which meant that he was not an amateur-he was suspended for only

nine games. (Ex. 30.) To our knowledge, none of the Universities have ever reported

themselves as a victim of a crime to law enforcement authorities in connection with these

determinations of ineligibility, even though each of the athletes described above falsely

represented their NCAA eligibility on their admissions documents and the schools ostensibly

awarded them scholarships on the basis of those representations. Moreover, it bears noting that

none of the Universities have terminated their sponsorship agreements with Adidas. And,




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notwithstanding the events of this case, Louisville currently has a top four recruiting class going

into next season. (Exs. 31, 32; see also Ex. 33.)

                By setting forth this history, we do not mean to make light of the charges in t):iis

case. The Government's charges are serious and Mr. Gatto has taken them seriously. What we

wish to convey, however, is that the conduct and harm that underlie the wire fraud charges in this

case are very different than the conduct and harm at issue in other wire fraud cases tried in this

District. IfNCAA rule violations are as ubiquitous as the evidence suggests, that means that

misstatements about compliance with those rules must be equally common. But notwithstanding

the fact that "everyone knows what's been going on," see Ex. 18 at 16, these misstatements have

not been addressed as a criminal matter until now. That does not excuse the conduct, but we

submit that in fashioning a sentence it is fair to view the crossing of this line as less culpable than

crossing a line that is heavily policed and regularly the subject of criminal prosecution. Under §

3553(a), these differences should be considered and they militate in favor of a non-custodial

sentence.

               C.      A Non-Custodial Sentence is Appropriate in Order to Avoid
                       Unwarranted Disparities with Comparable Cases.

               One of the factors to be considered under Section 3553(a) is the need to avoid

unwarranted sentence disparities. In Mr. Gatto's case, this factor supports a non-custodial

sentence. Mr. Gatto may be sentenced to prison for engaging in conduct that has been going on

for decades without criminal sanction. As described above, in the vast majority of cases, NCAA

rule-breaking resulting in scholarships to ineligible players, where detected, is handled outside

the criminal justice system, almost always by the NCAA.

               We don't make this argument as a challenge to the Government's ability to bring

these charges, but rather to point out that for sentencing purposes, the applicable precedents are



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not the wire fraud cases that have been previously prosecuted in this District, since the

underlying conduct in those cases is meaningfully different than what took place here. Instead,

we ask the Court to consider the fact that the most analogous cases are the ones that have been,

up until this point, handled exclusively through the NCAA, without criminal charges and with no

incarceration. Under Section 3553(a), which contemplates gradations of punishment based not

on the formal charges themselves, but on the level of culpability, this distinction matters.

               Furthermore, many of the other individuals that the Government knows

participated in the same conduct as Mr. Gatto, including the men's basketball coaches at the

Universities, have not been, and apparently will not be, criminally charged.




               With regard to the coaches at the Kansas, the evidence showed that Coach Self

and Coach Townsend actually expected Mr. Gassnola to violate NCAA recruiting rules in order

to help them recruit players, just as Nike does for the teams it sponsors. (Tr. 1184:20-1186:11;

DX 192).




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    )
/
                       With respect to Louisville, its Associate Head Basketball Coach Kenny Johnson

        blatantly violated NCAA rules when he paid $1,300 in cash to Brian Bowen Sr., the father of

        Louisville player Brian Bowen Jr., see Tr. 701:25-703: 18,




        •    Here as well, the actions of Coach Johnson and -              resulted in the ineligibility of

        the recruit for NCAA competition and therefore did, or would have, caused Louisville to provide

        a scholarship to an athlete ineligible for play-the exact same harm alleged to have been caused

        by Mr. Gatto in this case. Yet, Coach Johnson and -              have not been, and apparently

        will not be, prosecuted, much less sentenced to jail, for their conduct.

                       Moreover, even in the few other instances in which conduct that is arguably

        somewhat similar to Mr. Gatto's has resulted in criminal charges, those defendants have ended

        up being sentenced to little to no time in prison. Most notable, of course, is the case of United




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States v. Walters, where the defendant, a sports agent named Norby Walters, participated in a

scheme to induce college football players to sign contacts with him, through payments of cash,

cars, and other valuables. 997 F.2d 1219, 1221 (7th Cir. 1993). The Government charged

Walters with mail fraud, alleging that Walters had defrauded the universities that the football

players attended by "causing the universities to pay scholarship funds to athletes who had

become ineligible as a result of the agency contracts." Id. While the Government maintains that

the legal theory of wire fraud liability was different here, the theory of harm caused by the

conduct here and in Walters-causing a university to award a scholarship to an ineligible

player-is identical. But Walters did not go to prison. Id. at 1227.

               Likewise, in United States v. Gray, three college basketball coaches were

involved in a case of academic fraud at Baylor University. In short, the coaches helped

prospective recruits obtain the academic credits required for athletic eligibility and possibly for

scholarships by providing the students with written coursework or answers to correspondence

exams. 96 F.3d 769, 772 (5th Cir. 1996). Such conduct violated NCAA rules on academic

eligibility and rendered the students ineligible for competition, resulting in the same harm

alleged here-colleges providing scholarships to ineligible players. At trial, the defendants were

convicted of honest services fraud for depriving their employer (Baylor) of the honest services of

its employees (the coaches). Id. Defendants received no jail time. Rather, they were sentenced

to three years of probation and 50 hours of community service. Id.

               In United States v. Young, No. 03-20400B, 2005 WL 3879034 (W.D. Tenn. Nov.

7, 2005), a fan of, and donor to, the University of Alabama gave $150,000 to the high school

football coach of a highly sought after football recruit named Albert Means so that Means would

agree to attend the University of Alabama and play football for the school's team. The donor,




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Logan Young, was charged with: (1) one count of structuring the $150, 000 to avoid filing cash

transaction reports in violation of 31 U.S.C. § 1952, (2) one count of violating the Travel Act, §

18 U.S.C. 1952, by traveling across state lines to carry on illegal activity (here, bribing a public

servant) and (3) one count of conspiracy under 18 U.S.C. § 371 for conspiring with the high

school coach to carry out the first two offenses. Upon conviction, Young was sentenced to just 6

months in prison and 2 years of supervised release. 4

                 It would be unjust for Mr. Gatto to be incarcerated, and his family punished, when

so many people who have engaged in the exact same type of conduct have never been, and will

never be, criminally charged. Under§ 3553(a), Mr. Gatto's sentence should reflect this disparity,

especially given that Mr. Gatto has always been a law-abiding and responsible citizen, a devoted

husband, and a loving father to two young children.

                 D.      A Non-Custodial Sentence is Sufficient to Deter Others.

                 Although§ 3553(a) requires this Court to consider the need for deterrence before

sentencing a defendant, that objective can be achieved in this case through a non-custodial

sentence. As the Second Circuit has observed, "the need for further deterrence and protection of

4
  Although the defendant in United States v. Piggie, 303 F.3d 923 (8th Cir. 2002), was sentenced to 37
months, that case is not comparable. First, and most significantly, Piggie had two prior felony
convictions, one involving weapons and the other for drug trafficking, which meant that he was in
Criminal History Category V. (Ex. 36 at 5.) Jim Gatto has never had a brush with law enforcement.
Second, unlike here, the defendant in Piggie was initially charged with 11 different counts of honest
services fraud and tax evasion offenses. (See Docket, United States v. Piggie, Case No. OO-cr-00162
(W.D.M.O. 2000).) While he ultimately pled guilty to only two counts, the defendant's sentence also
reflected these multiple and varied criminal acts. Third, Piggie was sentenced on the basis of an actual
loss amount of $245,882.79, see 303 F.3d at 926, which equated to an offense level of 14 under the
Guidelines at the time, and, when combined with his Criminal History Level V, and the fact that the
Guidelines were still mandatory at that point, meant that the court had no choice but to sentence him to 37
months. If the Government were to advance an actual loss theory, Second Circuit law holds that it would
first have to net out the revenue earned by the Universities as a result of the players' recruitment. United
States v. Leonard, 529 F.3d 82 (2d Cir. 2008). Finally, unlike Mr. Gatto, the defendant in Piggie hoped to
personally profit from his actions, as he had ambitions of representing the athletes as their agent once they
turned pro. 303 F.3d at 925. Unlike nearly every fraud defendant, Mr. Gatto's actions were not
motivated by the quest for personal gain.



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 the public is lessened" when conviction impacts a defendant's livelihood, because "the

 conviction itself already visits substantial punishment on the defendant." United States v.

 Stewart, 590 F.3d 93, 141 (2d Cir. 2009). The permanent loss of one's reputation and career,

 especially in cases where a defendant has spent a lifetime working hard to achieve success in his

 field, is a tremendous blow. The public humiliation associated with being indicted, much less

 convicted, of a crime is acute, and that was especially true here, where a sensational story

 involving well-known college coaches, universities with prominent sports programs, and the

 involvement of household name apparel brand, combined to create an absolute media frenzy.

 Mr. Gatto' s humiliation has been eagerly reported in virtually every sports-related periodical and

 television show in the country. Anyone paying attention has now received the message, loud and

 clear, that breaking the NCAA's rules is not a good idea. Mr. Gatto does not need to be

 incarcerated in order to send that message.

                 Finally, there is no need for specific deterrence in this case. Mr. Gatto is not a

. threat to the public. This is his first offense and an aberration in a life otherwise characterized by

 law-abiding behavior, as the many individuals who have wrote letters to the Court on Mr.

 Gatto's behalf can readily attest. There is no risk ofrecidivism: Mr. Gatto's career has been

 reduced to shambles as a result of this case. The public does not need to be protected from Mr.

 Gatto.

      II.        THE SENTENCING GUIDELINES MERIT A LENIENT SENTENCE.

                 Although a sentencing court does not need to follow the Sentencing Guidelines, it

 is required to "correctly calculat[e] the applicable Guidelines range" before imposing a sentence.

 Gall, 552 U.S. at 49-50. In the present instance, the Presentence Investigation Report, dated

 January 14, 2019 (the "PSR"), calculated an offense level of 21, which equates to a sentence

 between 37 and 46 months. (PSR, at p. 33.) However, the Probation Office itself concluded that


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a variance below the Guidelines was appropriate here and recommended a sentence of 12

months. (PSR, at p. 36.)

                Although Mr. Gatto is grateful for the Probation Office's acknowledgment that he

is "upstanding member of society" and that this is a unique case, see id. at 35, Mr. Gatto

respectfully disagrees with the calculation of the applicable Guidelines range found in the PSR.

When the Sentencing Guidelines are calculated correctly, they result in an offense level of 7 and

a Guidelines range between 0-6 months. As a first offender, the imposition of a non-custodial

sentence is appropriate for Mr. Gatto. See U.S.S.G. at §SCI. I cmt. n.4 (if a defendant is a

"nonviolent first offender and the applicable guideline range is in Zone A or B of the Sentencing

Table, the court should consider imposing a sentence other than a sentence of imprisonment.").

               A.      Mr. Gatto Did Not Intend to Cause Any Pecuniary Loss to the
                       Universities.

               The PSR calculates a 14-level increase in Mr. Gatto's Guidelines range based on

an "intended loss" of $589,624. (PSR 'if'il 58, 60.) The $589,624 figure is based upon the

Government's contention, accepted by Probation, that it was "reasonably foreseeable" to Mr.

Gatto that NC State, Kansas and Louisville would lose funds equal to the face value of a four-

year athletic scholarship for Brian Bowen Jr., Billy Preston, Silvio Desousa and Dennis Smith Jr.

(Id.) Specifically, the Government contends that when Mr. Gatto approved of payments to the

family of Brian Bowen, Jr., it was "reasonably foreseeable" that Louisville would lose $165,400,

since the cost of an athletic scholarship at Louisville is $41,350 per year. (PSR 'if 61.)

Likewise, the face value of an athletic scholarship at Kansas is $41,078. (Id.) Accordingly, the

Government contends that when Adidas funds were sent to the families of Kansas recruits Billy

Preston and Silvio DeSousa, it was "reasonably foreseeable" to Mr. Gatto that Kansas would

suffer loss an in amount equal to $328,624,00 (the value of two four-year scholarships). (Id.)



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Finally, because in-state tuition at NC State is $23,900 per year, see Tr. 738:3-739:2, the

Government claims that it was "reasonably foreseeable" to Mr. Gatto that NC State would lose

$95,600 (the value of a four-year scholarship), when he approved of payments from Adidas to

the family of Dennis Smith Jr, even though Smith Jr. only attended N.C. State for one year

before going to the NBA. Together, these "reasonably foreseeably" losses equal $589,624.

                Mr. Gatto objects to this enhancement because the PSR's estimate of intended

loss is contrary to both controlling law and the factual record.

                        1.     The Sentencing Commission Significantly Revised the Definition of
                               "Intended Loss" In the 2015 Guidelines Amendments.

               The current definition of intended loss is the "pecuniary harm that the defendant

purposefully sought to inflict." U.S.S.G. at §2Bl.l(b)(l) cmt. n.3 (A)(ii). Intended loss is a

subjective standard. (See Ex. 37 (U.S. Sentencing Comm'n, Amendments to Sentencing

Guidelines, dated April 30, 2015 at 24-25).) Case law has long held that "commentary in the

Guidelines Manual that interprets or explains a guideline is authoritative unless it violates the

Constitution or a federal statute, or is inconsistent with, or a plainly erroneous reading of, that

guideline." Stinson v. United States, 508 U.S. 36, 38 (1993).

               The Government's calculation of intended loss is inappropriate because it is based

on losses that are, at most, unintended repercussions of Mr. Gatto' s conduct that Mr. Gatto had

no desire to see inflicted upon the Universities. Instead of calculating the pecuniary losses that

Mr. Gatto "purposefully sought" to inflict upon the Universities, as required under the

Guidelines, the Government based its calculation on harms that would have been undesirable to

Mr. Gatto-e.g., a determination that the talented athletes that Mr. Gatto hoped to see play for

the Universities were "ineligible" to play on the Universities' basketball teams. Despite these




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facts, the Government contends that these losses should be included in Mr. Gatto's intended loss

calculation because these losses would have been "foreseeable" to Mr. Gatto. (PSR if 60.)

               However, "foreseeable" losses are not a component of "intended loss" under the

Guidelines. The current definition of "intended loss" was instituted as part of the Sentencing

Commission's 2015 revisions, which went into effect on November 1, 2015. (Ex. 37 (U.S.

Sentencing Comm'n, Amendments to Sentencing Guidelines, dated April 30, 2015 at 24-25

(revising definition of intended loss to the "pecuniary harm that the defendant purposefully

sought to inflict."))). When the Sentencing Commission issued the 2015 revisions to "intended

loss," the Commission specifically stated that it was "adopt[ing] the approach taken by the Tenth

Circuit" in United States v. Manatau, 647 F.3d 1048 (10th Cir. 2011). Id.

               In Manatau, the Tenth Circuit, in an opinion authored by current Supreme Court

Justice Neil Gorsuch, confirmed that "intended loss does not mean a loss the defendant merely

knew would result from his scheme or a loss he might have possibly and potentially

contemplated." Manatau, 647 F.3d at 1050 (italics in original). Instead, an "intended loss" is

only those losses which the defendant seeks to inflict "on purpose." Id. (only financial losses

that a defendant "had a 'conscious object' to cause" may be included in the calculation of

intended loss). Even losses that a defendant is "aware" are "practically certain" to result from

his conduct may not be included. (Id.)

               Indeed, the text of the Guidelines themselves make clear that pecuniary losses that

a defendant did not "purposefully [seek] to inflict," but which were a "reasonably foreseeable"

result of his conduct should not be included in any "intended loss" calculation. In contrast, the

Guidelines make clear that when calculating "actual loss," it is appropriate to include

"reasonably foreseeable pecuniary harm." U.S.S.G. at §2Bl.l(b)(l) cmt. n.3 (A) at (i), (iv).




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However, the Guidelines do not include "reasonably foreseeable pecuniary harms" as appropriate

to include when calculating "intended loss." Compare id. at (i) with id. at (ii).

                Indeed, the Tenth Circuit pointed out this distinction in Manatau. 647 F.3d at

1051 ("The guidelines' definition of 'intended loss' makes no mention of knowledge or some

lesser mens rea standard. Yet, just a few lines later, the sentencing commission's definition of

'actual loss' does just that - defining 'actual loss' to include the 'harm that the defendant knew .

. . was a potential result of the offense.' . . This contextual clue .... shows, too, that if the

commission had wished to include the 'knowledge' concept in the definition of intended loss it

well knew how to do so.") (italics in original). If the Sentencing Commission believed that the

Tenth Circuit, in Manatau, had misread the Guidelines on this point, it would have clarified this

point in the 2015 Amendments. Instead, the Commission specifically adopted Manatau as a

correct articulation of the meaning of "intended loss." (Ex. 37.)

                Accordingly, it is inappropriate for the Government to base its intended loss

calculation on a claim that it was reasonably "foreseeable" to Mr. Gatto that his conduct could

deprive the Universities of $588,224 in scholarship funds. Instead, the Government must

demonstrate that Mr. Gatto "purposefully sought" to inflict these losses upon the Universities.

The Government is unable to make this showing because there was no evidence presented at trial

that Mr. Gatto desired the Universities to sustain financial losses. Instead, the Government's

point to the jury was that Mr. Gatto' s conduct exposed the Universities to financial losses. (Tr.

49:23-50: 1, 58: 16-19.) For purposes of an "intended loss" enhancement, that is not enough.

Accordingly, any sentencing enhancement for intended loss is unwarranted.




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                       2.         Mr. Gatto 's Object Was Not to Deprive the Universities Out of
                                  Scholarship Funds.

                The Government will not be able to point to a single instance in which Mr. Gatto

expresses an interest in depriving the Universities out of scholarship funds or demonstrating that

he "purposefully sought to inflict" any pecuniary loss upon the Universities. In fact, the means

by which these four athletes paid for college-e.g., through their parents, through student loans,

or through an athletic scholarship--was entirely irrelevant to Mr. Gatto. Mr. Gatto had no

particular interest in whether the Universities offered athletic scholarships to these students (or

not) since the scholarships-room, board, and the opportunity to take academic classes-did not

benefit Mr. Gatto in the least.

               Instead, as Government cooperator T.J. Gassnola testified, the objective of the

alleged scheme was to "make sure that the coaching staffs of the [Universities'] basketball teams

were happy" with Adidas. (Tr. 1080:3-1081 :7.) According to Mr. Gassnola, it was important to

keep the basketball coaches at the Universities happy because the Universities could switch their

corporate sponsorships to Nike or Under Armour, Adidas's direct competitors, if the basketball

coaches were displeased with the "support" they received from Adidas's marketing department.

(Tr. 1076:8-1077:18; 1084:12-21.) Mr. Gassnola testified that his actions were based on his

"belie[f] that college coaches wanted shoe companies to help recruit players to their schools."

(Tr. 1107:8-17.) Indeed, Mr. Gassnola said that the reason he was "running around dropping 30

grand here" and "20 grand here" on players' families was because he was trying to ensure that

the Universities were happy and would "re-sign[]" their sponsorship agreements with Adidas.

(Tr. 1186:25-1187:4; DX192.)

               Mr. Gassnola was on the witness stand for three days. Yet, he never once testified

that he or Mr. Gatto were scheming to deprive the Universities out of athletic scholarships. In



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fact, the Government never even asked him that question. While one result of the payments may

have been that scholarships were awarded to athletes whom the NCAA, had it known of the

payments, could have deemed ineligible, nothing in the record supports the Government's

contention that it was Mr. Gatto's "conscious object[ive]" to deprive the Universities of

scholarship funds by ensuring that the players would be prohibited from competing. Manatau,

64 7 F .3d at 1050 ("intended loss does not mean a loss the defendant ... might have possibly and

potentially contemplated.") (italics in original).

                   To the contrary, the evidence demonstrates that Mr. Gatto wanted these students

to compete in games and play well for their schools. (Tr. 1017: 19-25 (Gassnola wanted Silvio

DeSousa to play in games, not be declared ineligible); 1000:21-1003:2 (Gassnola wanted Dennis

Smith Jr. to play in games, not be declared ineligible); 1137:7-1138:4 (Gassnola wanted Billy

Preston to play in games, not be declared ineligible).) Unless the Government can point to some

evidence that proves that Mr. Gatto' s purpose was to deprive the Universities out of scholarship

dollars, the value of the athletic scholarships should not be included in the calculation of any

intended loss. 5




5
  While we contend that Mr. Gatto did not intend any loss to the Universities, given the Guidelines'
definition of "intended loss," to the extent that the Court finds that "foreseeable losses" should be
included, the record demonstrates that Mr. Gatto and his co-defendants expected that the student athletes
would each be "one and done" players who would only receive one year of scholarship funds before
moving on to play professionally in the NBA. (See e.g., Tr. 622: 11-19, 820:17-21.) Accordingly, the
calculation of any intended loss, if "foreseeable losses" are included, would result in an intended loss
amount of $147,406 and an enhancement of 8 levels.
                                                Face Value of        Expected Time in
 Name of Student          University                                                              Total
                                                  Scholarship              Collee:e
Brian Bowen, Jr.      Louisville              $41,000 I year         1 Year                $41,350
Billy Preston         Kansas                  $41,078 I vear         1 Year                $41,078
Silvio DeSousa        Kansas                  $41,078 I year         1 Year                $41,078
Dennis Smith Jr.      NC State                $23,900 I year         1 Year                $23,900




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               B.      The Probation Office Correctly Concluded That A Sophisticated
                       Means Enhancement Is Inappropriate Here.

               As the PSR correctly concludes, there is also no legitimate basis for applying a 2-

level "sophisticated means" enhancement to Mr. Gatto's sentence and the Government's

contention that such an enhancement should apply is wrong. The "sophisticated means"

enhancement is meant to punish against "especially complex or especially intricate offense

conduct," such as the "use of fictitious entities, corporate shells or offshore financial accounts."

U.S.S.G. at §2Bl.l(b)(10)(c) cmt. n. 9(B) (Nov. 2018). No such methods were employed by Mr.

Gatto or his co-defendants. Mr. Gassnola and Mr. Code sent Mr. Gatto inflated AAU team

expense reports and Mr. Gatto had them paid. (See e.g., Tr. 1027:13-1028:3). The money was

then delivered to the families in cash. (Tr. 276:11-18; 998:5-999:25; 1028:4-21; 1013:3-19.)

               These arrangements were not "sophisticated," "complex," or "especially

intricate," which is the type of conduct targeted by the sophisticated means enhancement.

U.S.S.G. §2Bl.l(b)(10)(c) cmt. n. 9(B); see also United States v. Nawaz, 555 F. App'x 19, 27

(2d Cir. 2014) (sophisticated means enhancement appropriate where fraud scheme "involved

forged bank documents, fraudulent property appraisals, fictitious entities, straw buyers and

corporate shells used to perpetrate fraudulent mortgage transactions."). Accordingly, as the

Probation Office correctly found, there is no basis for imposing a "sophisticated means"

enhancement here.


   III.        THE PSR'S CALCULATION OF RESTITUTION TO LOUISVILLE AND
               KANSAS IS INCORRECT.

               When calculating restitution, "only ... the victim's actual loss" may be considered.

United States v. Marino, 654 F.3d 310, 319-20 (2d Cir. 2011). Restitution is limited to "actual

loss" because restitution is meant to return to the victim the money that was taken from them-



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but if they didn't lose any money and actually profited, providing restitution would unjustly

enrich the victim. See United States v. Adorno, 950 F. Supp. 2d 426, 428 (E.D.N.Y. 2013). As

the Second Circuit has explained, "[t]he primary and overarching goal of the MYRA is to make

victims of crime whole: to compensate these victims for their losses and to restore the[m] to their

original state of well-being. To fulfill this objective without award[ing] the victim a windfall,

i.e., more in restitution than he actually lost, the MYRA caps the restitution award at the actual

amount of the victim's loss." United States v. Thompson, 792 F.3d 273, 277 (2d Cir. 2015)

(internal citations and quotation marks omitted).

                The PSR concludes that Mr. Gatto is responsible for paying restitution to each of

the Universities for the loss of "one year of tuition per student," that is (i) $41,350 to Louisville

in connection with Brian Bowen Jr.; (ii) $41,078 to Kansas in connection with Billy Preston; (iii)

$41,078 to Kansas in connection with Silvio DeSousa; and (iv) $23,900 to N.C. State in

connection with Dennis Smith Jr. In total, the PSR imposes a restitution amount of $14 7,406.

                Mr. Gatto objects to the amount of the restitution award to Louisville and Kansas.

Louisville did not incur an actual loss of $41,350.00 in connection with Brian Brown Jr. That

would have been the loss had Brian Bowen Jr. remained enrolled for both semesters of the 2017-

2018 school year, but since he left the school after the first semester, see Tr. 529:19-20,

Louisville did not disburse any scholarship dollars for the second semester. Accordingly,

restitution should be owed to Louisville only in the amount of $20,675.

                Likewise, Billy Preston only attended Kansas for the first semester of the 2017-

2018 school year, and Silvio DeSousa only attended Kansas for the second semester of the 2017-

2018 school year. 6 Accordingly, Mr. Gatto should only be responsible for restitution in the


6
  While Kansas did renew De Sousa's scholarship for the 2018-2019 season, it did so after the Superseded
Indictment was filed and Kansas's NCAA compliance officers learned that DeSousa's guardian had


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amount of $20,539/each, which is the cost of one semester, for a total restitution amount owed to

Kansas of $41,078.

                  Accordingly, the correct restitution amount is $20,675 to Louisville; $41,078 to

Kansas; and $23,900 to N.C. State. 7




accepted funds from Adidas. (Tr. 888:22-889:5.) Accordingly, Mr. Gatto is not responsible for those
tuition dollars.
7
  The existence of an actual loss for purposes of calculating restitution does not mean that there was an
actual loss for purposes of calculating an offense level under § 2B 1.1 (b )( 1). Under § 2B 1.1 (b )( 1), there is
only an actual loss if the victim sustained a loss after netting that loss against any gains received. Given
the revenue earned by N.C. State and Kansas, there is no actual loss resulting from the offense, which is
why the Government urged ~robation to focus on intended loss.



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                                         CONCLUSION
               For the foregoing reasons, we respectfully request that the Court impose a non-

custodial sentence, whkh we submit is sufficient, but not greater than necessary, to satisfy the

objectives of sentencing.


Dated:     New York, New York
           February 12, 2019



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